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  AO 440 (Rev. 06/12) Summons in a Civil Action


                                          UNITED STATES DISTRICT COURT
                                                                            for the

                                                           Southern District
                                                          __________         of of
                                                                      District  New  York
                                                                                   __________

                             Kayleigh Hayes                                   )
                                                                              )
                                                                              )
                                                                              )
                                Plaintiff(s)                                  )
                                                                              )
                                     v.                                               Civil Action No.
355 Restaurant Group LLC, Pir Granoff, Matthew Arnold, Ashwin Deshmukh,
                                                                              )
Something Good Supper Club, LLC, Something Short, LLC, Sando Supplies         )
LLC, Raphael Khutorsky, Ilan Khutorsky, Jackson Leonardo, MSB Hospitality
LLC, and Martin Borkan                                                        )
                                                                              )
                                                                              )
                               Defendant(s)                                   )

                                                          SUMMONS IN A CIVIL ACTION
                                               SEE RIDER ATTACHED
  To: (Defendant’s name and address)




             A lawsuit has been filed against you.

           Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
  are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
  P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
  the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
  whose name and address are: Taimur Alamgir, Esq.
                                               TA Legal Group PLLC
                                               315 Main Street, Second Floor, Huntington, NY 11743
                                               (914) 552-2669
                                               tim@talegalgroup.com


         If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
  You also must file your answer or motion with the court.



                                                                                         CLERK OF COURT


  Date:               05/08/2024                                                                           /s/ P. Canales
                                                                                                   Signature of Clerk or Deputy Clerk
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 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
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                                  RIDER

             DEFENDANT                               ADDRESS

355 Restaurant Group LLC             355 Bowery, New York, NY 10003
Pir Granoff                          249 Prospect Pl., Brooklyn, NY 11238
Matthew Arnold                       747 Riversville Rd., Greenwich, CT 06831
Ashwin Deshmukh                      26 Gramercy Park South, Apt 2F, New York,
                                     NY 10003
Something Good Supper Club, LLC      c/o Interstate Agent Services, LLC,
                                     501 Silverside Road Suite 102, Wilmington,
                                     Delaware 19809
Something Short, LLC                 c/o Interstate Agent Services, LLC,
                                     501 Silverside Road Suite 102, Wilmington,
                                     Delaware 19809
Sando Supplies LLC                   166 Grant Ave., White Plains, NY 10604
Raphael Khutorsky                    336 East 18th Street, Apt. #CE, New York, NY
                                     10003
Ilan Khutorsky                       336 East 18th Street, Apt. #CE, New York, NY
                                     10003
Jeckson Leonardo                     227 Lott Avenue #2B, Brooklyn, NY 11212
MSB Hospitality LLC                  c/o Pardo Law PLLC, 1205 Lincoln Rd., Ste.
                                     211, Miami Beach FL 33139
Martin Borkan                        488 NE 18th St. #3109, Miami, FL 33132
